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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         File No. 1:97-CR-76
v.
                                                         HON. ROBERT HOLMES BELL
JUWELL DARNELL CASTLEBERRY,

              Defendant.
                                           /

                                      OPINION

       This matter comes before the Court on Defendant Juwell Darnell Castleberry's motion

under 28 U.S.C. § 2255 to vacate, set aside, or correct the sentence imposed upon him by this

Court on June 12, 2000.

                                               I.

       On December 4, 1997, Defendant and five co-conspirators were named in a three-

count third superseding indictment. Count One charged the six defendants with conspiring

between January 1996 and August 26, 1997 to unlawfully distribute and possess with intent

to distribute cocaine, cocaine base, and marijuana in violation of 21 U.S.C. §§ 846 and

841(a)(1).   On July 16, 1999, the government filed an Information and Notice of Prior

Offense, in accordance with 21 U.S.C. § 851, placing Defendant on notice that the

government sought enhanced penalties on the charged offense under 21 U .S.C.

§ 841(b)(1)(A), on the basis of Defendant's 1993 conviction for a prior felony involving
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controlled substances. In that notice, the government listed the prior felony as an August 2,

1993 conviction for possession with intent to deliver less than 50 grams of cocaine, imposed

by the 17th Circuit Court for Kent County, Michigan.

       On October 12, 1999, represented by his third appointed attorney, Lawrence Phelan,

and pursuant to a written plea agreement, Defendant entered a plea of guilty in this Court to

Count One of the third superseding indictment. In the plea agreement, Defendant agreed to

fully cooperate with the government in all respects, including testifying before the grand jury

and at trials of his co-conspirators. The government, for its part, agreed not to pursue

additional charges against Defendant, not to use information provided by his proffer against

him, and to make a good-faith evaluation of Defendant's cooperation for purposes of making

a recommendation to reduce Defendant's sentence. At the change-of-plea hearing, Defendant

was advised of the penalties of the offense to which he pleaded based on the enhanced level

associated with a finding of a prior offense involving controlled substance under 21 U.S.C.

§ 841(b)(1)(A), specifically, a minimum of 20 years imprisonment and a maximum of life.

       Shortly after the plea hearing, on October 15, 1999, Defendant requested new counsel

and expressed his displeasure with having pleaded guilty. Defense counsel Phelan moved

to withdraw on November 8, 1999. The motion to withdraw was granted and new counsel,

Larry Willey, was appointed on that day. One month later, on December 8, 1999, attorney

Willey moved to withdraw as counsel. Defendant filed a pro se motion to withdraw his

guilty plea on December 13, 1999.         On January 10, 2000, Federal Public Defender



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Christopher Yates was appointed to represent Defendant. On January 31, 2000, counsel filed

a new motion to withdraw the guilty plea. In a lengthy opinion and order issued March 10,

2000, the Court denied Defendant's motion to withdraw the plea. On June 12, 2000,

Defendant was sentenced to 360 months in prison, a $6,000.00 fine and a $100.00 special

assessment.

       Defendant appealed his sentence, raising numerous grounds: (1) the third superceding

indictment, which failed to allege as an element of the offense the amount of drugs involved

in the conspiracy, violated Apprendi v. New Jersey, 530 U.S. 466 (2000); (2) the district court

erred in denying Defendant's request to withdraw his plea of guilty; (3) the court erred in

imposing a $6,000.00 fine; (4) the use of Defendant's prior conviction to enhance his

conviction was improper under Apprendi; (5) the district court erred in determining that

Defendant was responsible for a course of conduct involving distribution of at least 1.5

kilograms of crack cocaine; and (6) section 541 of Title 21 United States Code is

unconstitutional under Apprendi. In an unpublished decision issued April 25, 2003, the Sixth

Circuit rejected all claims and affirmed Defendant's conviction and sentence. See United

States v. Price, Nos. 00-1569, 00-1709, 2003 WL 1984699 (6th Cir. April 25, 2003).

       Defendant filed the instant motion under § 2255 on April 15, 2004, raising two

grounds for relief: (1) that his guilty plea was entered involuntarily and without

understanding of the consequences of the plea due to the ineffective assistance of counsel;

and (2) that appellate counsel was constitutionally ineffective for failing to raise certain



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sentencing issues on appeal and for failing to raise the district court's alleged noncompliance

with Rule 11 during the guilty plea colloquy. The United States filed a response on May 19,

2004 and Defendant filed a reply brief on June 14, 2004. On July 8, 2004, Defendant filed

a motion for leave to amend his motion to assert a new claim: that he was sentenced in

violation of the rule established by the Supreme Court on June 24, 2004, in Blakely v.

Washington, 124 S. Ct. 2531 (2004). The motion was referred to the magistrate judge who,

on August 4, 2004, recommended denying the motion on the grounds that amendment would

be futile because Blakely did not apply retroactively to cases that were final at the time it was

decided (Docket #481). The district court adopted the report and recommendation and

denied the motion to amend on September 27, 2004 (Docket ## 491, 492).

       Defendant's motion to vacate sentence now is before the Court for review.

                                               II.

       A prisoner who moves to vacate his sentence under § 2255 must show that the

sentence was imposed in violation of the Constitution or laws of the United States, that the

court was without jurisdiction to impose such sentence, that the sentence was in excess of the

maximum authorized by law, or that it is otherwise subject to collateral attack. 28 U.S.C.

§ 2255. To prevail under § 2255, "a petitioner must demonstrate the existence of an error of

constitutional magnitude which had a substantial and injurious effect or influence on the

guilty plea or the jury's verdict." Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003)

(citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)). "Relief is warranted only where



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a petitioner has shown 'a fundamental defect which inherently results in a complete

miscarriage of justice.'" Id. (quoting Davis v. United States, 417 U.S. 333, 346 (1974)).

         In order to obtain collateral relief under § 2255, a petitioner must clear a significantly

higher hurdle than would exist on direct appeal. United States v. Frady, 456 U.S. 152, 166

(1982). A petitioner is procedurally barred from raising claims in a § 2255 motion, even

those of constitutional magnitude, to which no contemporaneous objection was made or

which were not presented on direct appeal. Frady, 456 U.S. at 167-68; Nagi v. United States,

90 F.3d 130, 134 (6th Cir. 1996). Where a defendant has procedurally defaulted a claim by

failing to raise it on direct review, the claim may be raised in a motion under § 2255 only if

the defendant first demonstrates either cause for the default and actual prejudice or that he

is actually innocent. Bousley v. United States, 523 U.S. 614, 622 (1998). A claim of

ineffective assistance of counsel may serve as cause excusing a procedural default. See Elzy

v. United States, 205 F.3d 882, 884 (6th Cir. 2000). The procedural default rule does not

apply to claims of ineffective assistance of counsel because such claims generally are not

reviewable on direct appeal, as the record may be inadequate to permit review. See United

States v. Kincaide, 145 F.3d 771, 785 (6th Cir. 1998); United States v. Tucker, 90 F.3d 1135,

1143 (6th Cir. 1996). Consequently, claims of ineffective assistance of counsel may be

raised for the first time in a § 2255 proceeding, without regard to a failure to raise them on

direct appeal. See Tucker, 90 F.3d at 1143; United States v. Allison, 59 F.3d 43, 47 (6th Cir.

1995).



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       In an action to vacate or correct the sentence, a court is required to grant a hearing to

determine the issues and make findings of fact and conclusions of law "[u]nless the motion

and the files and records of the case conclusively show that the prisoner is entitled to no

relief. . . ." 28 U.S.C. § 2255.

       The statute "does not require a full blown evidentiary hearing in every instance
       . . . . Rather, the hearing conducted by the court, if any, must be tailored to the
       specific needs of the case, with due regard for the origin and complexity of the
       issues of fact and the thoroughness of the record on which (or perhaps, against
       which) the section 2255 motion is made."

Smith v. United States, 348 F.3d 545, 550-51 (6th Cir. 2003) (quoting United States v.

Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993)). No evidentiary hearing is required if the

petitioner's allegations "cannot be accepted as true because they are contradicted by the

record, inherently incredible, or conclusions rather than statements of fact." Engelen v.

United States, 68 F.3d 238, 240 (8th Cir. 1995) (quoted in Arredondo v. United States, 178

F.3d 778, 782 (6th Cir. 1999)). Where the judge considering the § 2255 motion also

conducted the trial, the judge may rely on his or her recollections of the trial. Blanton v.

United States, 94 F.3d 227, 235 (6th Cir. 1996).

                                              III.

       The files and records in this case conclusively show that Defendant is not entitled to

relief on his motion.




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       A.     Guilty Plea

       Defendant contends that, due to the ineffective assistance of counsel, his guilty plea

was not made voluntarily or with understanding of the consequences. To make out a claim

of ineffective assistance of counsel sufficient to overcome Defendant's procedural default of

his challenge to the guilty plea, Defendant must demonstrate: (1) that counsel's performance

fell below an objective standard of reasonableness; and (2) that counsel's deficient

performance prejudiced the defendant resulting in an unreliable or fundamentally unfair

outcome. Strickland, 466 U.S. at 687-88; see also Williams v. Taylor, 529 U.S. 362, 390-91

(2000). A court considering a claim of ineffective assistance must "indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance." Id. at 689. Counsel's performance must be evaluated from the perspective

existing at the time of the representation, not from the perspective of hindsight. Strickland,

466 U.S. at 689. In a guilty plea context, while the performance prong of the Strickland test

remains the same, to establish prejudice the petitioner "must show that there is a reasonable

probability that, but for counsel's errors, he would not have pleaded guilty and would have

insisted on going to trial." Hill v. Lockhart, 474 U.S. 52, 59 (1985); accord Griffin v. United

States, 330 F.3d 733, 737 (6th Cir. 2003); Ohara v. Wiggington, 24 F.3d 823, 828 (6th Cir.

1994); Warner v. United States, 975 F.2d 1207, 1214 (6th Cir. 1992).

       Defendant asserts that appointed counsel at the time of the plea failed adequately to

investigate his prior criminal history and determine that his earlier controlled-substance



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conviction was for attempted possession with intent to deliver less than 50 grams of cocaine,

not for possession, as alleged in the government's Information and Notice of Prior Offense

filed on July 16, 1999 pursuant to 18 U.S.C. § 851.1 He contends that his 1993 conviction

could not be used to enhance his sentence under 21 U.S.C. § 841(b)(1)(A). 2 Defendant

argues that, because counsel failed adequately to investigate, the guilty plea was based on

       1
        The confusion regarding the nature of the 1993 conviction arises from the August 2,
1993 judgment of sentence entered by the 17th Judicial Circuit Court, which listed the
offense of conviction as "Pos w/I Del Coc L/50" in violation of M ICH. C OMP. L AWS
§ 333.74012A4. (Pl. Resp., Ex. 1.) The docketed order reflecting the plea, dated June 16,
1993, however, stated that Defendant had pleaded guilty to attempted possession with intent
to deliver cocaine and that the second count, alleging possession with intent to deliver was
dismissed. (Def. M em. of Law, Ex. C.) Long after sentencing in the instant case, on March
31, 2004, the 17th Circuit Court entered an amended judgment of sentence for the 1993
conviction, showing that the conviction was for attempted possession with intent to deliver
less than 50 grams of cocaine. (Pl. Resp., Ex. 2.)
       2
           Section 841(b)(1)(A) provides in relevant part as follows:

       [A]ny person who violates subsection (a) of this section shall be sentenced as
       follows:

       (1)(A) In the case of a violation of subsection (a) of this section involving --
                                              ...

       (iii) 50 grams or more of a mixture or substance described in clause (ii) which
       contains cocaine base;
                                             ...

       such person shall be sentenced to a term of imprisonment which may not be
       less than 10 years or more than life . . . . If any person commits such a
       violation after a prior conviction for a felony drug offense has become final,
       such person shall be sentenced to a term of imprisonment which may not be
       less than 20 years and not more than life imprisonment . . . .

Id.

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false information and therefore was neither knowingly nor voluntarily made. He further

contends that, had counsel properly investigated the earlier conviction before Defendant

decided to enter a guilty plea, Defendant would not have pleaded guilty.

       Defendant's argument is meritless for numerous reasons. First, the representations he

makes in the instant motion are wholly at odds with the arguments he raised in moving to

withdraw his guilty plea in January 2000. In that motion, Defendant argued two bases

warranting withdrawal of the plea: (1) that at the time he entered into the plea he had no

intention of providing cooperation, rendering the benefits of the agreement illusory; and (2)

he had consistently maintained his innocence with respect to the charge of conspiring to

possess with intent to distribute crack cocaine, as opposed to powder cocaine and marijuana.

Despite having had two new attorneys appointed since entering his plea, and despite raising

grounds for withdrawal of the plea, Defendant at no time suggested that his plea was not

voluntary or knowing because counsel failed to investigate the true nature of his state-court

conviction. His claim, therefore, is patently incredible in light of the history of this case.

       In addition, Defendant fails to allege or demonstrate that counsel's purported failure

to investigate resulted in either an uninformed or a coerced plea. A criminal defendant enters

a guilty plea knowingly when he understands the nature of the charge and the "direct

consequences" of his guilty plea. See Brady v. United States, 397 U.S. 742, 748 (1970). In

general, a defendant is aware of the direct consequences of the plea if he is aware of the




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maximum and minimum (if any) that may be imposed. See King v. Dutton, 17 F.3d 151, 153-

54 (6th Cir. 1994); Hart v. Marion Corr. Inst., 927 F.2d 256, 259 (6th Cir. 1991).

       In the instant case, Defendant was abundantly aware of both the nature of the charge

and the direct consequences of the plea. In its Information and Notice of Prior Offense, the

government notified Defendant and the Court of the existence of a 1993 state-court

controlled substance offense that it contended warranted a sentencing enhancement under 21

U.S.C. § 841(b)(1)(A). The government requested that, if Defendant was found guilty of

Count 1 of the indictment, he be sentenced in accordance with the enhanced provisions of

21 U.S.C. § 841(b)(1)(A), which provided a term of imprisonment of 20 years to life. At the

time he entered his plea, Defendant unquestionably was aware of the true nature of his

underlying conviction. Indeed, in his memorandum of law supporting his motion to vacate,

Defendant expressly claims to have advised counsel of the fact that the possession count had

been dismissed and that Defendant had only pleaded guilty to attempted. (Def. Br. at 2.)

       Moreover, the transcript of the plea proceeding reflects that counsel preserved

Defendant's challenge to his 1993 drug conviction. (Plea Tr. at 25.) The plea agreement

itself advised Defendant of the minimum and maximum sentences for his offense, assuming

the earlier conviction would count under 21 U.S.C. § 841(b)(1)(A), but the plea proceeding

expressly reserved Defendant's right to contest the propriety of considering the 1993

conviction as a basis for the enhanced sentence under § 841(b)(1)(A). In fact, the Court

clearly advised Defendant of his rights in this regard:



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               THE COURT: Mr. Phelan is absolutely correct, Mr. Castleberry. If the
       presentence report includes this prior conviction as part of your criminal
       history category, it can affect your sentence in several different ways. It can
       affect the presence of mandatory minimum and also affect where you fall in
       a chart that we use that determines what guideline range applies. You and
       your attorney will have the right to challenge the recommendation in the
       presentence report as to whether that prior conviction should be used and, if
       so, how it's used in connection with your sentencing. Do you understand that?

              THE DEFENDANT: Yes, Your Honor.

             THE COURT: So you need to provide Mr. Phelan any additional
       information that he might need in order to pursue that issue.

(Plea Tr. at 25-26.)

       In sum, Defendant was fully informed as to the nature of his prior offense, was on

notice that the government claimed that the offense was a proper basis for enhancement, and

was aware that Defendant retained the ability to contest the use of the 1993 conviction either

to increase the statutory minimum sentence or to enhance Defendant's penalties under the

sentencing guidelines. Defendant's claim that further investigation of the precise nature of

the 1993 conviction affected his decision to plead guilty, therefore, is without support on the

record.

       In addition, as the Court previously has noted, the state-court judgment of conviction

in existence at the time of the plea and sentencing hearings expressly stated that the

conviction was for possession with intent to distribute, not attempted possession. Both

reasonable counsel and the Court were entitled to rely on the judgment of sentence actually

entered by the court rather than upon Defendant's representations. Counsel may not be



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considered to have rendered constitutionally ineffective assistance for failing to find an

amended judgment that did not exist at the time.

       Finally, not only has Defendant failed to demonstrate that counsel performed below

an objective standard of reasonableness, Defendant cannot demonstrate actual prejudice. To

show prejudice, Defendant must demonstrate "that counsel's errors were so serious as to

deprive the defendant of a fair trial, a trial whose result is reliable." Strickland, 466 U.S.

at 687; see also, e.g., Tucker v. Prelesnik, 181 F.3d 747, 754 (6th Cir. 1999); Chandler v.

Jones, 813 F.2d 773, 781 (6th Cir. 1987).

       Defendant's claim that his state-court conviction did not constitute a predicate offense

for purposes of the career sentencing provision of 21 U.S.C. § 841(b)(1(A) and U.S.S.G.

§ 4B1.1 was both preserved and extensively discussed at sentencing. Sentencing counsel

strenuously argued several reasons that Defendant's offense of attempted possession should

not properly be considered a predicate offense under either the statute or the guidelines

warranting an enhanced sentence as a career offender. Counsel first argued that, under

Michigan law, attempted possession with intent to distribute cocaine was not a recognized

offense and the 1993 conviction therefore was invalid. The Court rejected the argument

because it amounted to an impermissible collateral attack on the state-court conviction. The

Court's conclusion unquestionably is correct under United States v. Bonds, 48 F.3d 184 (6th

Cir. 1995). In Bonds, the Sixth Circuit rejected a collateral challenge to the constitutionality

of the state-court conviction, relying on Custis v. United States, 511 U.S. 485 (1994) (holding



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that, unless there has been a prior ruling that a conviction is constitutionally invalid, or unless

the conviction was obtained when counsel was not available or provided in violation of

Gideon v. Wainwright, 372 U.S. 335 (1963), a collateral attack on a conviction is not allowed

at sentencing). In the instant case, at the time of both his plea and his sentence, Defendant's

judgment of conviction declared him guilty of possession with intent to deliver cocaine.

Defendant was not free to challenge that conviction in his federal proceeding. Moreover,

assuming he was convicted only of attempted possession, Defendant was not free to argue

that the crime did not exist under Michigan law. See Wayne County Prosecutor v. Detroit

Recorder's Court Judge, 442 N.W.2d 771, 773 (Mich. Ct. App. 1989) (holding that attempted

delivery of cocaine was not a valid offense under Michigan law, as attempts were included

under the statute prohibiting delivery).

       Defendant's sentencing counsel next argued that a conviction for attempted possession

with intent to deliver was not a "controlled substance offense" under 21 U.S.C. § 841(b(1)(A)

or U.S.S.G. § 4B1.1.3 The court properly declined to accept Defendant's argument. As

       3
           Section 4B1.1 of the United States Sentencing Guidelines provides as follows:

       A defendant is a career offender if (1) the defendant was at least eighteen years
       old at the time the defendant committed the instant offense of conviction, (2)
       the instant offense of conviction is a felony that is either a crime of violence
       or a controlled substance offense, and (3) the defendant has at least two prior
       felony convictions for either a crime of violence or a controlled substance
       offense. If the offense level for a career criminal from the table below is
       greater than the offense level otherwise applicable, the offense level from the
       table below shall apply. A career offender's criminal history category in every
       case shall be Category VI.

Id.

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sentencing counsel recognized, the claim that an attempted possession with intent to deliver

was not a "controlled substance offense" under U.S.S.G. § 4B1.1 was thoroughly discussed

and rejected by the Eleventh Circuit in United States v. Smith 54 F.3d 690, 692-93 (11th Cir.

1995). The reasoning of the Eleventh Circuit has been accepted in two unpublished Sixth

Circuit cases. See United States v. Larry, No. 96-2438, 1997 WL 810004, at *2 (6th Cir.

Dec. 30, 1997) (citing Smith, 54 F.3d at 693); United States v. Chappell, No. 95-1418, 1996

WL 143458, *1 (6th Cir. March 28, 1996) (same). Section 4B1.2 of the Sentencing

Guidelines defines the term "controlled substances offense" to mean "an offense under a

federal or state law prohibiting the manufacture, import, export, distribution, or dispensing

of a controlled substance . . . with intent to manufacture, import, export, distribute, or

dispense." U.S.S.G. § 4B1.2. The application notes to the commentary to the section state

that a "controlled substance offense" includes "the offenses of aiding and abetting,

conspiring, and attempting to commit such offenses." U.S.S.G. § 4B1.2, comment. (n.1).

See Smith, 54 F.3d at 692. As the Supreme Court has noted, "commentary in the Guidelines

Manual that interprets or explains a guideline is authoritative unless it violates the

Constitution or a federal statute, or is inconsistent with, or a plainly erroneous reading of, that

guideline. United States v. Stinson, 508 U.S. 36, 37-38 (1993).

       Similarly, 21 U.S.C. § 841(b)(1)(A) provides, in relevant part:

       If any person commits such a violation after a prior conviction for a felony
       drug offense has become final, such person shall be sentenced to a term of
       imprisonment which may not be less than 20 years and not more than life
       imprisonment . . . .

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Id. Defendant in no way explains how the 1993 offense of attempt to possess with intent to

deliver cocaine, to which he pleaded guilty, was outside the plain meaning of the statutory

language. The offense was a felony, and Defendant was sentenced to two to five years of

imprisonment upon conviction. Further, the offense clearly was a drug offense.4

       In sum, Defendant's counsel at the plea fully preserved Defendant's argument that his

prior conviction was not a proper basis for sentence enhancement under the statute and the

guidelines. That argument was fully addressed at the sentencing hearing and rejected by the

Court for reasons that remain persuasive. As a result, defense counsel's failure to prove at

the plea hearing that Defendant's state conviction was an attempted possession conviction

had no impact on the outcome of the sentencing hearing.

       Defendant therefore fails to demonstrate either that counsel's performance was

ineffective or that counsel's performance in any way prejudiced Defendant. He further fails

to demonstrate any basis for concluding that he lacked information or that his plea was not

knowing or voluntary. For all the stated reasons, Defendant's claim that counsel was

ineffective will be denied.




       4
        Enhancement of the statutory minimum under 21 U.S.C. § 841(b)(1)(A) was, in any
event, rendered irrelevant to Defendant's sentence in the instant case by the Court's finding
that Defendant was a career criminal under U.S.S.G. § 4B1.1. Because the career criminal
finding raised Defendant's criminal history category to level VI from level IV, the minimum
sentence faced by Defendant under the Sentencing Guidelines was 30 years.

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       B.     Ineffective Assistance of Appellate Counsel

       In his second ground for relief, Defendant contends that appellate counsel was

ineffective for failing to raise three meritorious issues on appeal. Defendant first argues that

appellate counsel should have argued on appeal that the trial court abused its discretion in

imposing an enhanced penalty for a false prior conviction, that of possession with intent to

deliver cocaine rather than attempted possession with intent to deliver. Second, he argues

that the government's information under 21 U.S.C. § 851 was defective because it improperly

identified the nature of the state conviction and therefore could not serve as notice warranting

enhancement of the sentence. Finally, Defendant argues that the Court violated F ED. R.

C RIM . P. 11 by improperly advising Defendant of his minimum sentence under the

assumption that the enhanced statutory minimum sentence applied.

       An appellant has no constitutional right to have every non-frivolous issue raised on

appeal. "'[W]innowing out weaker arguments on appeal and focusing on' those more likely

to prevail, far from being evidence of incompetence, is the hallmark of effective appellate

advocacy." Smith v. Murray, 477 U.S. 527, 536 (1986) (quoting Jones v. Barnes, 463 U.S.

745, 751-52 (1983)). To require appellate counsel to raise every possible colorable issue

"would interfere with the constitutionally protected independence of counsel and restrict the

wide latitude counsel must have in making tactical decisions." Strickland, 466 U.S. at 688.

As the Supreme Court recently has observed, it is difficult to demonstrate that an appellate

attorney has violated the performance prong where the attorney presents one argument on



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appeal rather than another. Smith v. Robbins, 528 U.S. 259, 289 (2002). In such cases, the

petitioner must demonstrate that the issue not presented "was clearly stronger than issues that

counsel did present." Id. at 289.

       In the instant case, appellate counsel filed an extensive brief, raising six well reasoned

issues. Defendant fails to demonstrate that the claims raised by counsel were significantly

weaker than those Defendant argues should have been raised.

       Defendant's first and third claims of attorney error on appeal essentially reiterate his

arguments challenging the use of his 1993 state court conviction to enhance his sentence.

This Court previously has exhaustively discussed those arguments and rejected them.

Because the arguments therefore are without merit, counsel's decision not to raise them on

appeal was patently reasonable.

       Defendant next argues that the government's notice under 21 U.S.C. § 851(a)(1) was

defective, in that it inaccurately gave notice of the true charge on which he was convicted.

He therefore argues that appellate counsel should have raised a claim that the district court

improperly enhanced his sentence based on erroneous information.

       Defendant's argument depends on a conclusion that the notice requirements of § 851

are to be strictly and formally interpreted and that any error in the notice is sufficient to make

notice ineffective. The courts routinely have rejected this argument, declining to interpret

§ 851 in a fashion that elevates form over substance. See United States v. King, 127 F.3d

483, 487 (6th Cir. 1997); see also United States v. Hamilton, 208 F.3d 1165 (9th Cir. 2000)



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(citing King and holding that error in year of conviction referenced in § 851 notice did not

prevent notice from satisfying due process); United States v. Steen, 55 F.3d 1022 (5th Cir.

1995) (upholding enhancement even though the notice erroneously described the defendant's

prior conviction as being for distribution rather than possession); United States v.

Gonzalez-Lerma, 14 F3d 1479 (10th Cir. 1994) (information provided defendant with

reasonable notice of government's intent to rely on particular conviction for sentence

enhancement purposes where information stated offense, location, and date, despite

defendant's objection that information did not contain correct date, did not specify place of

conviction other than state, and did not provide case number). Even if the proper 1993

conviction was attempted possession with intent to deliver, the notice given under § 851 was

sufficient.

       Further, Defendant was not free to challenge the validity of his state-court conviction

on the grounds that his true plea was to an attempted possession. Section 851(e) specifically

provides:

       No person who stands convicted of an offense under this part may challenge
       the validity of any prior conviction alleged under this section which occurred
       more than five years before the date of the information alleging such prior
       conviction.

21 U.S.C. § 851(e). The information and notice in the instant case was filed on July 16,

1999, and his state court conviction was entered on August 2, 1993, nearly six years before.

As a result, the noticed conviction for possession with intent to deliver cocaine was not

subject to challenge by counsel at sentencing or on appeal. For both reasons, therefore,

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counsel's decision not to raise a challenge to the notice under § 851 was entirely reasonable.

Defendant therefore has failed entirely to demonstrate that appellate counsel was ineffective.

                                             IV.

        The files and records in this case conclusively show that the Defendant is entitled to

no relief under § 2255. Accordingly no evidentiary hearing is required to resolve the merits

of the pending motion. For the reasons stated herein, the motion to vacate, set aside or

correct sentence pursuant to 28 U.S.C. § 2255 must be denied. An order consistent with this

opinion will be entered.




Date:     September 12, 2005               /s/ Robert Holmes Bell
                                           ROBERT HOLM ES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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